     Case 4:19-cv-00226 Document 366 Filed on 01/12/21 in TXSD Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                            ENTERED
                                                                                         January 12, 2021
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk

                                  HOUSTON DIVISION

DWIGHT RUSSELL, et al.,                           §
                                                  §
                       Plaintiffs,                §
                                                  §
v.                                                §               CIVIL ACTION NO. H-19-226
                                                  §
HARRIS COUNTY, TEXAS, et al.,                     §
                                                  §
                       Defendants.                §

                                              ORDER

       The parties must appear before the court to discuss the issues raised by Sheriff Gonzalez’s

report, (Docket Entry No. 364), on January 15, 2021, at 9:30 a.m., by Zoom. The court

will circulate a link to the parties in advance of the hearing.


              SIGNED on January 12, 2021, at Houston, Texas.




                                                              Lee H. Rosenthal
                                                       Chief United States District Judge
